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             EXHIBIT “A”
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                        Civil Case Information Statement
Case Details: ESSEX | Civil Part Docket# L-007991-21

Case Caption: ARENDS ALEJANDRO VS SCHMERIN                       Case Type: AUTO NEGLIGENCE-PERSONAL INJURY (NON-
RAYMOND                                                          VERBAL THRESHOLD)
Case Initiation Date: 10/25/2021                                 Document Type: Complaint with Jury Demand
Attorney Name: SANDER BUDANITSKY                                 Jury Demand: YES - 6 JURORS
Firm Name: SANDER BUDANITSKY LLC                                 Is this a professional malpractice case? NO
Address: 520 WEST FIRST AVENUE                                   Related cases pending: NO
ROSELLE NJ 07203                                                 If yes, list docket numbers:
Phone: 9082413445                                                Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : ARENDS, ALEJANDRO                     transaction or occurrence)? NO
Name of Defendant’s Primary Insurance Company
(if known): None                                                 Are sexual abuse claims alleged by: ALEJANDRO ARENDS? NO




      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

10/25/2021                                                                                      /s/ SANDER BUDANITSKY
Dated                                                                                                           Signed
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